UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

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PAUL LONG and KlANDRA LovE
Plaintijfs,
v. CLASS AchoN
BchONNEcT INTERNATIONAL, ga _
PLC, BITCONNECT LTD, AND §:;;; §
BITCONNECT TRADING LTD, and §;_§3 §§
RYAN MAASEN A/K/A cRYPTO Oa¢ =»-
JURY TRIAL DEMANDED 241 ==
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CLASS ACTION COMPLAINT
Plaintiffs, Paul Long and Kiandra Love (“Plaintiffs”), tender the following as their
Complaint and Jury Demand against Defendants Bitconnect lntemational, PLC, Bitconnect LTD

and Bitconnect Trading, LTD (collectively, "`Bitconnect"), and Ryan Maasen a/k/a Crypto Rhyno

(“Maasen”), on behalf of himself and others similarly situated (“Class”), for financial losses

suffered from an online investment scam.
INTRODUCTION

l. Bitconnect scammed thousands of Floridians and hundreds of thousands of
Americans out of millions and millions of dollars through a website called bitconnect.co.

2. Bitconnect took advantage of the increased attention, interest and success of
cryptocurrencies and legitimate companies and technology to convince Plaintiffs and the Class

that they would make money on their investment in Bitconnect’s product.

3. As part of their scam, Bitconnect relied upon, communicated with and otherwise
benefited from people like Maasen. Maasen created YouTube videos that marketed Bitconnect
and convinced people to deposit money onto Bitconnect’s website.

4. But Bitconnect was both a pyramid scheme and a Ponzi scheme. That is, it relied
on new money from new users, who were in turn expected to get more new users to produce more
new money, while not actually engaging in any real activity that would produce income, profits or
benefit to investors.

5. In its scheme, Bitconnect required Plaintiffs and the Class to provide Bitconnect
with Bitcoin, which it would exchange for Bitconnect Coins (°‘BCC”). With this transaction,
Bitconnect promised to Plaintiffs and the Class fixed returns as well as a guarantee that the
principal investment/loan amount would be paid in full on date certain.

6. lnstead, Bitconnect shut down its platform, took all of Plaintif`fs and the Class’s
money, and lefi them with BCC, which is either entirely worthless or has significantly less value
than Bitconnect promised.

7. Plaintiffs and the Class were damaged and Bitconnect and Maasen have profited
handsomely at the expense of Plaintif`fs and the Class.

8. Plaintif`fs seek monetary damages for these losses, in an amount to be determined
at trial.

9. Plaintiff's also seek injunctive relief`, in the form of: (l) specific enforcement and/or
rescission of the contract between Bitconnect and Plaintiff and the Class; (2) a return of all money
and/or cryptocurrencies given to Bitconnect by Plaintiffs and the Class; (3) disgorgement of all
monies earned by Def`endants due to their conduct; and/or (4) an immediate order enjoining

Bitconnect and its owners, members and Board of Directors from transferring, selling, spending

or otherwise dissipating any assets so that Plaintiffs and the Class can recover the money owed to
them.
JURISDICTION

10. This Court has jurisdiction pursuant to the Class Action Fairness Act of 2005, 28
U.S.C. § l332(d), because the proposed Class consists of 100 or more members; the amount in
controversy exceeds $5,000,000, exclusive of costs and interest; and minimal diversity exists. This
Court also has supplemental jurisdiction over the Florida state law claims pursuant to 28 U.S.C. §
1367 .

ll. This Court has jurisdiction over the Defendants because the injuries occurred in
this District and because of the specific actions of` the Defendants that purposefully, knowingly
and intentionally reached this District. Bitconnect operated a website and allowed Plaintiffs and
the Class to sign up for the website with their Florida addresses. Maasen published dozens of`
videos on Youtube.com that he knew would be viewed in this District and accepted the benefit of
transacting with Florida citizens by receiving money from Plaintiffs and the Class who signed up
for Bitconnect under Maasen’s affiliate codes. These affiliate codes earned Maasen money that
he generated because of his specific contacts in and activities directed towards Florida.

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12. Venue is proper in the Middle District of Florida under 28 U.S.C. § 1391 because
a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this District.
Plaintiffs reside in this District, viewed Defendants’ representations and misrepresentations in this
District, engaged in commerce with Defendants from their computers in this District, and

otherwise specifically performed their end of` the bargain in this District.

PARTIES

13. Plaintiff Paul hong is an individual living in Volusia, Florida, within this District.

l4. Plaintiff Kiandra Love is an individual living in Orange City, Florida, within this
District.

15. Defendants Bitconnect lntemational, PLC, Bitconnect LTD and Bitconnect
Trading, LTD (collective|y, “Bitconnect”) are foreign, for-profit companies organized under the
laws of the United Kingdom, doing business worldwide through the website bitconnect.co.

16. Bitconnect lntemational`s principal place of business is Grant Thomton House, 22
Melton Street, Kings Cross, bondon, United Kingdom NW l 2EP.

17. Bitconnect LTD’s principal place of business is The Panorama, Park Street,
Ashford, United Kingdom TN24 8EZ.

18. Bitconnect Trading LTD’s principal place of business is 23 St. Elizabeth Avenue,
Bootle, United Kingdom, L20 6FA.

19. Ryan Maasen is a citizen of Tulsa, Oklahoma.

FACTUAL ALLEGATIONS

20. A blockchain is a distributed record of transactions, usually managed by a peer-to-
peer network of computers that validates the transactions

21 . Bitcoin, a digital currency, is the most well»known type of blockchain and became
synonymous with blockchain technology in the public consciousness in 2017 thanks to the huge
spike in Bitcoin’s price. Bitcoin began 2017 at around $1,000 per coin, and reached highs of above

$19,000 in early December, before falling back to around 312,000 in mid-January 2018.

22. Alongside Bitcoin, other blockchain “coins” had huge increases in 2017. For
instance, Ethereum, another blockchain, had its coin, ETH, priced at around $8 on January l, 2017,
and ended 2017 at around $721.

23. Bitcoin, ETH and all cryptocurrency coins are volatile, unstable, subject to the
whims of investors worldwide, and undergo huge price swings on a daily basis and across various
different exchanges. Cryptocurrency is inherently volatile.

24. Against this backdrop, Bitconnect created a trading and lending platform that
promised substantial, fixed returns and a complete return of principal at a fixed time in the future
that benefited from volatility.

25. That is, users like Plaintiffs and the Class would invest money in Bitconnect
through a “lending” platform, Bitconnect would pay them a daily interest rate, and a bonus interest
percentage, and then return the principal amount “lent” or invested.

26. Bitconnect promised these retums through a secret, proprietary trading algorithm
called “volati|ity software interest,” which it claimed would produce returns sufficient to pay these
fixed interest rates plus bonuses for bigger investors.

27. Bitconnect repeatedly referred to this as an investment, and offered and sold its
investments through its "Bitconnect Lending Program.”

28. To effectuate the transactions described in this Complaint, Bitconnect created its
own coin called BitConnect Coin (“BCC”). BCC had no inherent value and no use other than
trading for Bitcoin.

29. Under the “Bitconnect Lending Program,” investors would “invest” into the
BitConnect BCC Exchange with Bitcoin - either by using Bitcoin already owned or purchasing

Bitcoin with a fiat currency,

30. Once the investor deposited the Bitcoin into the BitConnect BCC Exchange
platform, BitConnect instructed the investors to sell their Bitcoin to BitConnect in exchange for
BitConnect’s digital coin, BCC.

31. Then, Bitconnect instructed the investors to “lend” their BCC back to BitConnect,
explaining that the BCC "|ent” will be used to fund the trading activities of its secret, proprietary
trading system called “volati|ity software."

32. On .lanuary 9, 2018, the Secretary of State of North Carolina issued a Temporary
Cease and Desist Order against Bitconnect to stop it from violating state securities laws. Many of
the details and allegations herein were alleged by North Carolina in seeking and issuing its Order.

33. Bitconnect describes itself as “an open source all in one bitcoin and crypto
community platform designed to provide multiple investment opportunities with cryptocurrency
education where it is entirely possible to find the independence we all desire, in a community of
like-minded, freedom loving individuals who, like you, are seeking the possibility of income
stability in a very unstable world."

34. Bitconnect claimed investors could *"begin staking or holding BitConnect Coin and
watch [their] interest grow” and that “the more [investors] hold, the more [they] earn."

35. Bitconnect represented that:

a. BitConnect Coin is “the investment tool [investors] need to jump start [their]
financial security;”
b. Investors can “[s]ecure [their] future by gaining quick profit growth for

tomorrow that is practical and attainable:"

c. The investment ensures “financial freedom is available and [investors] can start
today. Store and invest wealth and earn substantial interest and investment;”
and

d. Investors who purchase BitConnect Coin are purchasing “an interest bearing
asset with 120% return per year. lt is that simple.”

36. These representations, while seemingly too good to be true for most investments,
were in line with the rise of cryptocurrency trading and investing in 2017, and therefore were
believable and concrete, and made it reasonable for Plaintiffs and the Class to rely upon and believe
these representations

37. Bitconnect offered up to 40% interest per month through its secret trading system
it called “volatility sohware.”

38. Bitconnect published the following graphic on its website, which Plaintiffs and the

Class saw and relied upon, that stated:

   
 
 

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' _; Buy Bitconnect Coin from
BCC Exchange

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Lend your BCC on dashboard
bitconnect lending or invest
in USD

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Earn Daily profit as per volatility
software interest

39. Bitconnect touted the lending program investment as a “safe way to earn a high rate
of return on...investment[s] without having to undergo a significant amount of risk.”

40. Bitconnect provided a chart that bolstered the misrepresentation that the returns
from the BitConnect Lending Program are guaranteed, and that Plaintiffs and the Class would
receive the principal capital invested within a set period of time, and that the more money invested,

the sooner Plaintiffs and the Class would receive the money back:

BitConnect Coin Lending Profits Interest

  

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41. Bitconnect published daily interest and interest histories to show how much it had

paid out over a previous tenn:

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Bitcoin volatility software

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investment wlthout havlng to undergo o slsnlt|canl amount 01 rlsk.

 

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42. Bitconnect’s promises of returns were bolstered by promoters and affiliates such as
Maasen. Maasen published dozens of` videos on YouTube.com, all of which he has taken down
and admitted that he has taken down, where he made numerous representations seen by, relied
upon and that damaged Plaintiffs and the Class.

43. One of his videos is still available through another channel:
https://www.voutube.com/watch?v=m'l`VvOSlOoKO (last accessed January 25, 2018).

44. Plaintiffs incorporate each and every representation made in that video into this
Complaint. Because the transcript of the video is too long to include in the Complaint, Plaintiffs
offer the following examples of the representations

45. ln the video, Maasen makes numerous representations about Bitconnect and his
gains, the average daily interest rate, how he is familiar with the Bitconnect team and that they
have a great support team, that if a user invested more, he or she would be able to make more

sooner, that the investor would get the money back at the end of the term (said multiple times in

multiple different ways), and other similar representations, all of which Plaintiffs and the Class
viewed and relied upon.

46. Maasen knew that viewers of his video were young, as he specifically referred to
two years as a “short” period of time, even if the college aged or high school kids watching the
video thought it was a long time.

47. Maasen specifically represented that Plaintiffs and the Class would get their
principal back in a specific amount of time (299 days with a $100 investrnent).

48. Maasen specifically represented that within two years Plaintiffs and the Class could
make a million or more dollars from this investment

49. Maasen specifically represented in the video that he was demonstrating investment
returns and that it really worked.

50. Maasen published dozens of substantially similar videos with substantially similar
representations, and Plaintiffs and the Class viewed and relied upon the representations in
Maasen’s videos to choose to sign up under Maasen’s affiliate program, deposit money into
Bitconnect, and lose that money,

51. Maasen benefited from each person who he directed to Bitconnect, earning money
on the money those people deposited. In that way, Bitconnect was both a Ponzi scheme and a
pyramid scheme.

52. As an example of one of the many images of guaranteed returns in the

"Compounding Machine", he included this spreadsheet:

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Best Bitconnect Tutorial by Rhyno - Use referral code in Description!
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53. Bitconnect and Maasen published the same message about investment, namely, that
this was a guaranteed daily interest payment, with bonuses, and a guaranteed return of principal
alter a certain amount of time. Maasen encouraged his viewers, including Plaintiffs and the Class,
to re-invest the daily interest payments back directly into more Bitconnect lending. Thus, even
Plaintiffs and the Class who received interest payments did not actually make money or keep those
profits, and lost all profits when Bitconnect closed down the lending program and left investors
with worthless BCC.

54. Bitconnect repeatedly referred to the lending program as an investment on its

website:

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a. “You can invest BitConnect coin in BitConnect lending platform
exclusively from the BitConnect Dashboard. This investment option
involves profiting from BitConnect trading bot and volatility software
You will receive daily profit based on your investment option;”

b. "Upon investment term completion, you will receive your CAP]TAL
BACK to take out from the BitConnect lending platform or optionally
reinvest back in lending platform to continue receiving daily profit;” and

c. “lt takes 15 days to mature your coin from last received interest block.
Once you received interest block in your staking wallet, you are required
to wait for another 15 days to find next interest block.”

55. Bitconnect provided daily interest charts that showed no days with negative returns

on the entire chart:

  

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56. An average daily interest rate of l% would produce average yearly returns of

3,000% which, while rare in financial markets, are in line with the returns seen in crypto markets

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in 2017, and therefore Plaintiffs and the Class reasonably believed that these returns were available
to them here.

57. This is especially true because Maasen personally invested in and profited from
BCC, as he represented in his videos, and these returns had been consistent for months.

58. Plaintiffs and Class would have expected to profit from the efforts of Bitconnect
and its agents.

59. Plaintiffs and Class would have believed, based on Bitconnect’s statements in its
promotional materials, that investors could profit by merely holding and staking BCC tokens, or
enjoying the guaranteed returns provided by Bitconnect’s proprietary, secret trading system that it
calls “volatility software.” Further, investors would have expected that Bitconnect and its agents
would expend significant efforts to continue to develop the proprietary, secret trading system that
it calls “volatility software,” and that such development would increase the value of their BCC.

60. Bitconnect represented to Plaintiffs and the Class that “lnvesting on BitConnect
platform. . .is a safe way to earn a high rate of return on your investment without having to undergo
a significant amount of risk.”

61. Bitconnect also represented to Plaintiffs and the Class that “The interest rate that
we can guarantee on your investment while using our investment platform is calculated by our
BitConnect Price Volatility Software and accrued daily.”

62. Based on the statements listed above, Plaintiffs and the Class reasonably expected
that they would profit solely from the essential managerial efforts of Bitconnect.

63. Bitconnect investments are “securities” as defined in Fla. Stat. § 517.021.

64. Bitconnect unlawfully offered and sold unregistered securities in Florida in

violation of Fla. Stat. §517.07.

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65. Ryan Maasen violated Fla. Stat. § 517.07, et seq. by soliciting and promoting the
sale of unregistered securities to Plaintiffs.

66. Under Fla. Stat. § 517.301, it is unlawful for any person or entity, in connection
with the offer or sale of any security, whether offered or sold indirectly or directly: “l. To employ
any device, scheme, or artifice to defraud; 2. To obtain money by means of any untrue statement
of a material fact or any omission to state a material fact necessary in order to make the statements
made, in the light of the circumstances under which they are made, not misleading; or 3. To engage
in any transaction, practice, or course of business which operates or would operate as a fraud or
deceit upon any person.”

67. Defendants violated Fla. Stat. § 517.301 when, in connection with the offer or sale
of a security to Plaintiffs and the Class, employed a scheme to defraud Plaintiffs and the Class,
made untrue and misleading statements of material facts, and engaged in a practice and course of
business which operated as a fraud on Plaintiffs and the Class.

68. Bitconnect intentionally misled Plaintiffs and the Class, and intentionally withheld
material facts about Bitconnect from Plaintiffs and the Class, including, but not limited to, the
following:

a. The identity of the principals of Bitconnect and the true location of Bitconnect’s
operations and management;

b. lnforrnation about the assets and liabilities of Bitconnect and any other
information that indicates the means by which Bitconnect will provide investors

with a guaranteed daily return, regardless of the value of Bitcoin;

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c. lnfonnation about the proprietary, secret trading system that it calls its
“volatility software,” details of its trading records and historical performance,
proof of its existence, and the risk factors associated with its use;

d. That the Bitconnect investments are securities and are not registered with the
Administrator or any other governing regulator;

e. That only registered dealers or agents can be paid commissions for referrals or
sales of securities; and

t`. That affiliates who receive such commissions for their sale of Bitconnect
investments without being properly registered are in violation of the Securities
Act of 1933.

69. ln addition, Bitconnect had token language about investment risks on its website,
ln the Risk Disclosure section of its website, which it did not require any user to actually view
before using Bitconnect and depositing money, Bitconnect noted that “There is no guarantee of
investor’s capital if the lending system fails due to any of the reasons mentioned above.”

70. Those reasons were:

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Risk Disclosure

Virtual currency such as Bitcoin is not legal tender, and is not backed by the government Legislative
and regulatory changes or actions at the state, federal, or international level may adversely affect
the use, transfer, exchange and value of Bitcoin, Transactions in virtual currency such as Bitcoin are
lrreverslble, and accidental transactions may not be recoverable. The volatility and unpredictability
of the price of virtual currency relative to the fiat currency may result in significant loss over a short
periods of time. Any technological difficulties experienced by the Bitconnect system may prevent the
access or use of members virtual currency temporarily or permanently, depending on the severity of
damage

There are risks associated with trading and investing. lf there should be a system failure, backing
incident or technical failure these terms apply to the members.

For |endlng, we pool the member's funds for our volatility software and trading bot. This is in case we
make a loss with trading or there is any technical failure of the platform or a sudden drop in asset
value that we are holding.

ln lending, the member agrees that they cannot terminate their contract before the term plan has
ended which the member has chosen.

All lending activities are reported in lending wallet consequently members will receive all capital and
interest payments in lending wallet and you are required to Transfer your lending wallet balance to
your Bitconnect wallet at the current BCC exchange rate.

Members should note that there is no guarantee of daily profit for lending.

Bitconnect reserves the right to institute and implement new rules of paying interest and capital if
Bitconnect lending fail in any way.

Bitconnect reserve the right to change the lending algorithm, the interest payment and capital back
system.

There is no guarantee of investor’s capital if the lending system fails due to any of the reasons
mentioned above.

71. Not listed is that disclosure was a risk Bitconnect could unilaterally shut down its
lending platform, convert all of people’s investments into BCC, tank the market for BCC by
eliminating any future value of BCC, and close up shop.

72. Not listed in the disclosure was the reason or reasons that Bitconnect actually shut

down its lending platform, causing Plaintiffs and the Class to lose their investments

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73. Nor did Bitconnect properly disclaim any promises ofprofits, retums, or the ability
to unilaterally alter the contract and not pay back the investment principa|, in ful|, on the date
promised.

74. On January 4, 2018, the Texas State Securities Board issued an emergency cease
and desist order against Bitconnect. On .lanuary 12, the North Carolina Order was issued.

75. On January 13, Bitconnect’s website went down, According to Bitconnect’s
Twitter account, this was due to “server issues”, which it then said were caused by an attack by
unnamed people through a DDoS process (a|so known as “denial of service” attack). A few days

later, the website was back up, but the lending program had been shut down.

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Bitconnect @bitconnect - lan 15 v
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2018. You will not be able to log in to the dashboard. ‘l'hefollowing day we will
reopen allowing new registrations and offering twice as much BitConnect X
(522.666 Bax) to be purchased ®bitconnect

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m ®bitconnect ~ Jan 15 v
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dashboard At the moment you can not perform strange activities The exchange
will take another 24 hours to work as usual Wlthdrawals from wallets will be
restored as soon as possible.®biteonnect

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Bitconnect @bitconnect - lan 15 v
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robot.‘ We will enable wgin in to dashboard as soon as we realize everything
under controL @bitoonnect

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Bitconnect @bitconnec! ~Jan 15 v
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moment you an not login dashboard liyou are receiving any dlfliwlties act:essing
the website front.just report it. ®bitoonnect

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Blt€onne¢t ®bitconnect ~lan 14 v
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on il|ll'@bitoonnect

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Sl\CMIMd @bitoonnect ~Jan 14 v
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to do a valuable transaction until the hiddent has been completely resoNed. We
apologize for any inconvenience this may cause @bitconnect

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Bitconnect @bitoonnect ~ ian 13 v
We've been under continuous DDoS attack which inevitably affects our service
We're mitigating as fast as we can.

lt may take up to 24 hours Will update you once it is under oontroL we apologize
for any hwnvenieme this may cause ©bltoonnect

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Bitconnect @bitconnect - Jan 13 v
Wearestillworking toresolvethisdisruption within ourservi¢z.¥hankyoufor
your patience during this time tim update you once its done @biiaonnect

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mich @biloonnect ~Jan 13 v
®bitconnect .oo website is currently down due to server issues We apologize for
the inconvenience

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77. Plaintiffs and the Class logged on to i'md their entire accounts had been converted

to BCC at a price of $363 each and that Bitconnect would no longer honor the promises for paying

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interest and return of principal in the lending program. The price of BCC plummeted on the
exchanges when Bitconnect announced it had closed the trading platform. As of January 25, 2018,
the price was down to $l 1.03.

78. On January 25, 2018, Maasen posted a new video promoting Davor, another
lending site that is exactly like Bitconnect. That video is available here:
httDs://www.youtube.com/watch?v=az7vh l dG IDM.

FACTS SPEClFlC TO EACH PLAlNTIFF
Paul Long

79. Plaintiff, Paul Long, first viewed a video from Maasen the week of September 25,
2017. The video was substantially the same as the one cited above, contained the same or
substantially the same representations, and contained the same overall message and representation
as the one above. However, the exact video Plaintiff saw has been taken down off YouTube.com
by Maasen.

80. Following Maasen’s advice, he deposited .9756 BTC (approximately $4,297.06) to
try out Bitconnect.

81. At`ter receiving returns on his initial investment (another hallmark of Ponzi
schemes), Plaintiff invested another .3221 BTC (approximately $1,53'}'.03) on October 9, 2017.

82. On October 12, 2017, he invested an additional .3420 BTC (approximately
$1,856.00).

83. On October 19, 2017, he invested.3510 BTC (approximately $1,998.59).

84. In addition to these larger investments, Plaintiff continued to re-investment any
gains he made on his investments, as encouraged by Defendants, from October 9, 2017 until his

final re-investment on January 9, 2018.

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85. As of today, his total investment is worth a few hundred dollars.
Kiandra Love
86. Plaintiff Kiandra Love first viewed a video from Maasen on or around October 10,
2017. The video was substantially the same as the one cited above, contained the same or
substantially the same representations, and contained the same overall message and representation
as the one above. However, the exact video Plaintiffs saw has been taken down off YouTube.com
by Maasen.
87. Following Maasen’s advice, on October 10, 2017 she deposited 3100 to try
Bitconnect.
88. Afier receiving returns on her initial, small investment (a hallmark of Ponzi
schemes), Plaintiff deposited $10,000 on October 25, 2017.
89. On November 14, 2017, Ms. Love made her final investment of $1010.
90. As of today, her total investments are worth only a few hundred dollars.
CLASS ALLEGATIONS
91. Plaintiffs bring this action on behalf of` themselves and as a class action, pursuant
to the provisions of Rules 23(a), (b)(Z), and (b)(3) of the Federal Rules of Civil Procedure on
behalf of the following class (“The Kentucky Class”):
The National Class
All United States residents who invested money in the
Bitconnect lending program between January 17, 2017 and
January 17, 2018, through the transfer of Bitcoin or any other
currency to Bitconnect.
All United States residents who invested money with Bitconnect
under Maasen’s affiliate code, referral program, or otherwise in
a way that resulted in Maasen receiving any bonus, money, thing

of value or other benefit from the class member investing with
Bitconnect.

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The Florida Class

All Florida residents who invested money in the Bitconnect
lending program between January 25, 2017 and January 17,
2018, through the transfer of Bitcoin or any other currency to
Bitconnect.

All Florida residents who invested money with Bitconnect under
Maasen’s affiliate code, referral program, or otherwise in a way
that resulted in Maasen receiving any bonus, money, thing of
value or other benefit from the class member investing with
Bitconnect.

92. Excluded from the Class are Defendants and their subsidiaries; all persons who
make a timely election to be excluded from the Class; governmental entities; and the judge to
whom this case is assigned and his/her immediate family. Plaintiffs reserve the right to revise the
Class definition based upon information learned through discovery.

93. Certification of Plaintiffs’ claims for class-wide treatment is appropriate because
Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as
would be used to prove those elements in individual actions alleging the same claim.

94. This action has been brought and may be properly maintained on behalf of the Class
proposed herein under Federal Rule of Civil Procedure 23.

95. Numerosity. Federal Rule of Civil Procedure 23(a)(l): The members of the Classes
are so numerous and geographically dispersed that individual joinder of all Class members is
impracticable While Plaintiffs are informed and believe that there are not less than hundreds of

thousands of members of the Class, the precise number of Class members in Florida is unknown

to Plaintiffs, but may be ascertained from Defendants’ books and records. Class members may be

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notified of the pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. mail, electronic mail, Internet postings, and/or published notice.

96.

Commonality and Predominance: Federal Rule of Civil Procedure 23(a)(2) and

23(b)(3): This action involves common questions of law and fact, which predominate over any

questions affecting individual Class members, including, without limitation:

a.

b.

97.

Whether Defendants engaged in the conduct alleged herein;

Whether Defendants violated federal and state securities law;

Whether Defendants’ representations about Bitconnect were false, misleading,
fraudulent other otherwise untrue;

Whether BCC and/or the Bitconnect lending program was an investment;
Whether Bitconnect and Plaintiffs and the Class entered into an investment
contract with promises by Bitconnect;

Whether Maasen misrepresented the risks of Bitconnect;

Whether the Defendants misrepresented the risks of Bitconnect;

Whether Bitconnect knowingly and intentionally operated a Ponzi scheme and/or
pyramid scheme;

Whether Plaintiffs and the other Class members are entitled to damages and other
monetary relief and, if so, in what amount.

Typicality: Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims are typical

of the other Class members’ claims because, among other things, all Class members were

comparany injured through Defendants’ wrongful conduct as described above.

98.

Adequacy: Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are adequate Class

representatives because their interests do not conflict with the interests of the other members of

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the Classes they seek to represent; Plaintiffs have retained counsel competent and experienced in
complex class action litigation; and Plaintiffs intend to prosecute this action vigorously. The
Classes’ interests will be fairly and adequately protected by Plaintiffs and their counsel.

99. Declaratory and lnjunctive Relief: Federal Rule of Civil Procedure 23(b)(2):
Defendants have acted or refused to act on grounds generally applicable to Plaintiffs and the other
members of the Classes, thereby making appropriate final injunctive relief and declaratory relief`,
as described below, with respect to the Class as a whole.

100. Superiority: Federal Rule of Civil Procedure 23(b)(3): Avclass action is superior to
any other available means for the fair and efficient adjudication of this controversy, and no unusual
difficulties are likely to be encountered in the management of this class action, The damages or
other financial detriment suffered by Plaintiffs and the other Class members are relatively small
compared to the burden and expense that would be required to individually litigate their claims
against Defendants, so it would be impracticable for members of the proposed Florida Class to
individually seek redress for Defendants’ wrongde conduct. Even if Class members could afford
individual litigation, the court system could not. Individualized litigation creates a potential for
inconsistent or contradictory judgments, and increases the delay and expense to all parties and the
court system. By contrast, the class action device presents far fewer management difficulties, and
provides the benefits of single adjudication, economy of scale, and comprehensive supervision by

a single court.

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COUNT l
VlOLATION OF FLORIDA SECURITIES LAWS

101. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set
forth herein.

102. Defendants violated Florida securities laws, specifically Fla. Stat. 517.01 l, et seq.,
through their actions detailed above.

103. As a result of the violation of these statutes, Plaintiffs and the Class lost money in
investments that they otherwise would not have made had they known the truth.

COUNT ll
VIOLATION OF SECTlON S§A! AND S|C| OF THE FEDERAL SECURITIES ACT

104. Plaintiffs reallege and incorporate by reference all preceding allegations as though
fully set forth herein.

105 . Defendants violated federal securities laws through their use of websites and
transactions in interstate commerce as described in detail above.

106. Defendants are each a “seller” under 15 U.S.C. 77e because it and/or its agents,
such as Maasen, solicited investments from Plaintiffs and the Class,

107 . The Bitcoin, money or other things of value paid by Plaintiffs and the Class were
pooled by Bitconnect so that it could profit for itself at the expense of investors such as Plaintiffs
and the Class, As a result, Plaintiffs and the Class, shared in the risks and benefits of the
investments,

108. Plaintiffs and the Class relied on and depended on the expertise of Defendants for
their investment retums.

109. Plaintiffs and the Class reasonably expected to receive profits from their

investments with and through Defendants.

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llO. Bitconnect`s investment platform and BCC are investment contracts, subject to
federal securities laws, and therefore, Defendants were required to register BCC as such.

lll. However, Defendants failed to register BCC or the Bitconnect lending platform
with the Securities and Exchange Commission (“SEC"’) or any federal agency.

112. Defendants` conduct violates 5(a) and 5(c) of` the Securities Act, 15 USC 77e(a)
and 77e(c).

ll3. Because of Defendants’ unregistered sales of securities, Plaintiffs and the Class
suffered damages as described above.

COUNT III
BREACH OF CONTRACT

l l4. Plaintiffs reallege and incorporate by reference all preceding allegations as though
fully set forth herein.

115. The terms of the transaction between Plaintiffs and Bitconnect and the Class and
Bitconnect are a contract under which Bitconnect would pay a daily interest rate, plus bonus
percentage, plus return principal on a specific date.

116. The terms of the contract were clear, unambiguous, not subject to any other
interpretation other than where Plaintiffs would receive the benefit of their bargain.

l l7. Bitconnect has breached the contract by failing to pay daily interest, failing to pay
bonus interest, and failing to return Plaintiffs’ principal.

118. Instead, Bitconnect unilaterally converted Plaintiffs’ investments into a worthless
BCC token that has little to no value, and shut down the lending platform.

ll9. Plaintiffs and the Class are entitled to damages from the breach of contract as
alleged above, including, but not limited to. return of principal. interest, attomeys’ fees and other

foreseeable damages from the total loss of this investment

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COUNT IV
FRAUD BY CONCEALMENT

120. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set
forth herein.

121. Defendants intentionally concealed and suppressed material facts concerning the
true nature of the investment as described in detail above,

122. Plaintiffs and the Class reasonably relied upon Defendants’ false representations

123. Det`endants’ false representations were material to Plaintiffs because they went to
the heart of the bargain, an easy return on investment in the volatile and complicated
cryptocurrency market.

124. Defendants had a duty to disclose the scheme it was engaged in because they had
exclusive knowledge as to implementation and maintenance of their scheme, and because they
knew facts not known to or reasonably discoverable by Plaintiffs or the Class.

125. Defendants actively concealed and/or suppressed these material facts as described
above, in whole or in part, to pad and protect its profits and to avoid scrutiny over its claimed
investment retums.

126. On information and belief, Defendants have still not made full and adequate
disclosures, and continue to attempt to defraud Plaintiffs and the Class by concealing material
information regarding the true value of BCC, by promoting another lending scheme, by promoting
another coin exchange, and otherwise continuing to engage in the behavior complained of above
in new schemes and frauds.

127. Because of the concealment and/or suppression of the facts, Plaintiffs and the Class
have sustained damages as outlined above. Accordingly, Defendants are liable to Plaintiffs and

the Class for damages in an amount to be proven at trial.

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128. Defendants` actions were done wantonly, maliciously, oppressively, deliberately,
with intent to defraud, and in reckless disregard of the rights of Plaintiffs and the Class, and the
conduct as alleged warrants an assessment of punitive damages in an amount sufficient to deter
such conduct in the future, which is to be determined according to proof.

LUNT_\'
VlOLATlON OF FLORIDA CONSUMER PROTECTION ACT

129. Plaintiffs reallege and incorporate by reference all paragraphs as though fully set
forth herein.

130. Defendants are liable to Plaintiffs and the Class pursuant to the Florida Deceptive
and Unfair Trade Practices Act, Fla. Stat. 510.201, et. seq.

131. Defendants and their agents were in the business of marketing and selling a product
or service to Plaintiffs and the Class, and profited therefrom.

132. Defendants and/or their agents designed, formulated, manufactured, assembled,
prepared for sale, distributed, and/or sold the Bitconnect lending platfonn, BCCs and all other
parts of the scheme described above. These actions constitute unfair methods of practice and
unfair or deceptive acts or practices in the conduct of a trade or commerce, which is unlawful.

133. Privity existed between Plaintiffs and the Class and Defendants.

134. Plaintiffs and the Class, while using and purchasing BCC and transferring money
to Bitconnect as described above, in the usual and customary manner, suffered substantial losses
and harms as described herein.

135. As a direct and proximate result of Det`endants’ conduct, Plaintiffs and the Class
are entitled to recover actual damages including but not limited to loss of value of their investments,

attomeys’ fees and costs, and other equitable relief pursuant to KRS 367.120, et. seq.

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REQUEST FOR RELIEF

WH EREFORE, Plaintiffs, individually and on the Class, respectfully request that the Court
enter judgment in their favor and against Defendants, as follows:

A. Certification of the proposed Class(es), including appointment of Plaintiffs’
counsel as Class Counsel;

B. An order temporarily and permanently enjoining Defendants from continuing the
unlawfill, deceptive, fraudulent, and unfair business practices alleged in this Complaint;

C. An order temporarily and permanently enjoining Defendants from selling,
liquidating, transferring, spending or otherwise dissipating assets earned from Plaintiffs and the
Class;

D. lnjunctive relief in the form of a rescission, refund or replacement program to make
Plaintiffs and the Class whole;

E. Costs, restitution, damages, including punitive damages, and disgorgement in an
amount to be determined at a jury trial;

F. An order requiring Defendants to pay both pre- and post-judgment interest on any
amounts awarded;

G. An award of costs and attomeys’ fees; and

H. Such other or further relief as may be appropriate

DEMAND FOR JURY TRIAL

Plaintiffs demand a trial by jury on issues so triable.

/s/ Steven W. Teppler
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